Case 1:22-cv-10016-LAK Document 174 Filed 05/09/23 Page Loa... cee

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK.

BE. JEAN CARROLL,

USPC SDNY

ALC EB 2

LEC TRORICALLY <ILEB

DEMO He

 

 

DONALD J. TRUMP,

Battery

VERDICT FORM

Did Ms. Carroll prove, by a preponderance of the evidence, that

1.

Mr. Trump raped Ms. Carroll?
YES NO 4

[Tfyou answered “Yes,” skip to Question 4. If you answered “No,” continue to
Question 2.]

Mr. Trump sexually Carroll?
YES NO

[Tf you answered “Yes,” skip to Question 4. If you answered “No,” continue
to Question 3.]

Mr. Trump forcibly touched Ms. Carroll?
YES NO

 

[if you answered “Yes,” continue to Question 4. If you answered “No,” skip
to Question 6.]

Ms. Carroll was injured as_a result of Mr. Trump’s conduct?

YES NO

If"Yes,” insert a dollar amount that would fairly and adequately compensate her
for that injury or those injuries,

82 10501 (2 sation)

DATE Leh 5/ YS
Wee ee eee eee x (AE
Plaintiff,
-against- 22-cv-10016 (LAK)
Defendant.
rae eee ee eee ee ee mh eee LL ee x

  

“So Mr ST 57 a “rap

JCAL CES ee
Case 1:22-cv-10016-LAK Document 174 Filed 05/09/23 Page 2 of 4

2
If “No,” insert $1.
$
[Continue to Question 5, whether you answered “Yes” or “No. ”]
5. Mr. Trump’s conduct was willfully or wantonly negligent, reckless, or done with a

conscious disregard of the rights of Ms. Carroll, or was so reckless as to amount to such
disregard?

YES Vv NO

If “Yes,” how much, if any, should Mr. Trump pay to Ms. Carroll in punitive
damages?

§_Z 0, 60D — Cw trite +Heas dv’)

[Continue to Question 6, whether you answered “Yes” or “No,”]

Defamation
Did Ms. Carroll prove, by a preponderance of the evidence, that
6. Mr. Trump’s statement was defamatory?
YES ~~ NO

[if you answered “Yes,” continue to Question 7. If you answered “No,” stop
here and return your verdict.]

Did Ms. Carroll prove, by clear and convincing evidence, that

7. Mr. Trump’s statement was false?

YES NO

Lif you answered “Yes,” continue to Question 8, If you answered “No,” stop
here and return your verdict.]

8. Mr. Trump made the statement with actual malice?
YES ~ NO

Lif you answered “Yes,” continue to Question 9. Ifyou answered “No,” stop
here and return your verdict]

 
Case 1:22-cv-10016-LAK Document 174 Filed 05/09/23 Page 3 of 4

Did Ms, Carroll prove, by a preponderance of the evidence, that

9, Ms. Carroll was injured as a result of Mr. Trump’s publication of the October 12, 2022
statement?

YES ‘4 NO

If “Yes,” insert a dollar amount for any damages other than the reputation
repair program.

g |, 6B, cop, = Ct ations

If “Yes,” insert a dollar amount for any damages for the reputation repair
program only.

¢ |, fob, OD, = C17 Millio)

Tf “No,” insert $1.
$

[Continue to Question 10, whether you answered “Yes” or “No.”']

10. In making the statement, Mr. Trump acted maliciously, out of hatred, ill will, spite or
wanton, reckless, or willful disregard of the rights of another?

YES 4 NO

If “Yes,” how much, if any, should Mr. Trump pay to Ms. Carroll in punitive
damages?

$ 260 | CDP, mmm (twe Wun dred ets gh hte
—hWougenels

[Please write your juror number (not you seat number or name) in the space
provided below, fill in the date, and inform the officer that you have reached a
verdict. |

Dated: 5] A , 2023
Case 1:22-cv-10016-LAK Document 174 Filed 05/09/23 Page 4 of 4

Juror numbers: .
G 5%
—3f oF
54 YO

U4 I

 
